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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    LAURI VALJAKKA,                                     Case No. 22-cv-01490-JST
                                                       Plaintiff,
                                   8
                                                                                            ORDER REGARDING SERVICE ON
                                                v.                                          PLAINTIFF
                                   9

                                  10    NETFLIX, INC.,
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff Lauri Valjakka shall file a document containing his full name, address, telephone

                                  14   number, and email address by June 14, 2024. See Civ. L.R. 3-4(a); Civ. L.R. 3-11.

                                  15          Until Plaintiff Valjakka files a document containing his contact information, attorney

                                  16   William Ramey shall continue to accept service on Valjakka’s behalf, and shall immediately

                                  17   transmit any documents he receives in that capacity, including this order, to Plaintiff.

                                  18          The Clerk shall serve a copy of this order on attorney William Ramey.

                                  19          IT IS SO ORDERED.

                                  20   Dated: May 29, 2024
                                                                                        ______________________________________
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                                                                                                      JON S. TIGAR
                                  22                                                            United States District Judge

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